{¶ 51} I concur in the well reasoned opinion of the majority.
  {¶ 52} The decision to award permanent custody to the state is the parental rights equivalent to the death penalty. In reHayes (1997), 79 Ohio St.3d 46, 48 (citation omitted). "Out of respect for maintaining the natural parental relationship, the Ohio Legislature requires that this relationship cannot be judicially terminated unless the termination is supported by the highest civil evidentiary standard — clear and convincing evidence." In re Williams, 11th Dist. Nos. 2003-G-2498 and 2003-G-2499, 2003-Ohio-3550, at ¶ 35 (citations omitted).
  {¶ 53} The evidence in the record demonstrates that the mother is attempting to change her lifestyle and establish a parental relationship with her children. While the mother certainly has her issues, the evidence that this situation has progressed to the point that at this time she should permanently forfeit her right of parenthood is not clear and convincing. SeeWilliams, 2003-Ohio-3550, at ¶ 43 ("[g]iven that appellant had substantially remedied the conditions within her power that led to the removal of the children * * *, the juvenile court erred in finding that the children could not be placed with their mother within a reasonable time").